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   9

  10                             UNITED STATES DISTRICT COURT
  11                        CENTRAL DISTRICT OF CALIFORNIA
  12

  13 JUAN BOGARIAN, PEARL OSUNA
       Individually, and as Successors in          CASE NO: 5:21-cv-01539-JWH-KK
  14 Interest to JAKOB OSUNA,                      [Hon. Judge John W. Holcomb;
                                                   Magistrate Judge Kenly Kiya Kato]
  15                               Plaintiffs,
  16                        v.                     STIPULATED PROTECTIVE
                                                   ORDER
  17 COUNTY OF SAN BERNARDINO, a
       legal subdivision of the State of           [DISCOVERY MATTER]
  18 California; SHERIFF JOHN
       MCMAHON, and DOES 1 through 10,
  19 inclusive,
  20
                            Defendants.
  21
  22
  23
       1.       A. PURPOSES AND LIMITATIONS
  24
                Discovery in this action is likely to involve production of confidential,
  25
       proprietary, or private information for which special protection from public disclosure
  26
       and from use for any purpose other than prosecuting this litigation may be warranted.
  27
       Accordingly, the parties hereby stipulate to and petition the Court to enter the
  28

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   1 following Stipulated Protective Order. The parties acknowledge that this Order does

   2 not confer blanket protections on all disclosures or responses to discovery and that

   3 the protection it affords from public disclosure and use extends only to the limited

   4 information or items that are entitled to confidential treatment under the applicable

   5 legal principles. The parties further acknowledge, as set forth in Section 12.3, below,

   6 that this Stipulated Protective Order does not entitle them to file confidential

   7 information under seal; Civil Local Rule 79-5 sets forth the procedures that must be

   8 followed and the standards that will be applied when a party seeks permission from

   9 the court to file material under seal.

  10            B. GOOD CAUSE STATEMENT
  11            This action is likely to involve law enforcement operations records, police
  12 reports, investigative reports, law enforcement personnel records, medical records

  13 and/or proprietary information for which special protection from public disclosure

  14 and from use for any purpose other than prosecution of this action is warranted. Such

  15 confidential and proprietary materials and information consist of, among other things,

  16 law enforcement operations records, police reports, investigative reports, law

  17 enforcement personnel records, medical records, information regarding confidential

  18 practices, or other information (including information implicating privacy rights of

  19 third parties), information otherwise generally unavailable to the public, or which may
  20 be privileged or otherwise protected from disclosure under state or federal statutes,
  21 court rules, case decisions, or common law. Accordingly, to expedite the flow of
  22 information, to facilitate the prompt resolution of disputes over confidentiality of
  23 discovery materials, to adequately protect information the parties are entitled to keep
  24 confidential, to ensure that the parties are permitted reasonable necessary uses of such
  25 material in preparation for and in the conduct of trial, to address their handling at the
  26 end of the litigation, and serve the ends of justice, a protective order for such
  27 information is justified in this matter. It is the intent of the parties that information
  28 will not be designated as confidential for tactical reasons and that nothing be so

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   1 designated without a good faith belief that it has been maintained in a confidential,

   2 non-public manner, and there is good cause why it should not be part of the public

   3 record of this case.

   4 2.         DEFINITIONS
   5            2.1       Action: Juan Bogarian, et al. v. County of San Bernardino, et al. [Case
   6 No. 5:21-CV-01539-JWH-KK.]

   7            2.2       Challenging Party: a Party or Non-Party that challenges the
   8            designation of information or items under this Order.
   9            2.3       “CONFIDENTIAL” Information or Items: information (regardless of
  10 how it is generated, stored or maintained) or tangible things that qualify for protection

  11 under Federal Rule of Civil Procedure 26(c) and/or applicable federal privileges, and

  12 as specified above in the Good Cause Statement. This material includes, but is not

  13 limited to, medical records, psychotherapeutic records, and autopsy photographs; as

  14 well as peace officer personnel records as defined by California Penal Code sections

  15 832.8, 832.5, 832.7 and the associated case law; and other similar confidential records

  16 designated as such.

  17            2.4       Counsel: Outside Counsel of Record and House Counsel (as well as their
  18 support staff).

  19            2.5       Designating Party: a Party or Non-Party that designates information or
  20 items        that it produces in disclosures or in responses to discovery as
  21 “CONFIDENTIAL.”
  22            2.6       Disclosure or Discovery Material: all items or information, regardless of
  23 the medium or manner in which it is generated, stored, or maintained (including,
  24 among other things, testimony, transcripts, and tangible things), that are produced or
  25 generated in disclosures or responses to discovery in this matter.
  26            2.7       Expert: a person with specialized knowledge or experience in a matter
  27 pertinent to the litigation who has been retained by a Party or its counsel to serve as
  28 an expert witness or as a consultant in this Action.

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   1            2.8       House Counsel: attorneys who are employees of a party to this Action.
   2            House Counsel does not include Outside Counsel of Record or any other
   3 outside counsel.

   4            2.9       Non-Party: any natural person, partnership, corporation, association, or
   5 other legal entity not named as a Party to this action.

   6            2.10 Outside Counsel of Record: attorneys who are not employees of a party
   7 to this Action but are retained to represent or advise a party to this Action and have

   8 appeared in this Action on behalf of that party or are affiliated with a law firm which

   9 has appeared on behalf of that party, and includes support staff.

  10            2.11 Party: any party to this Action, including all of its officers, directors,
  11 employees, consultants, retained experts, and Outside Counsel of Record (and their

  12 support staffs).

  13            2.12 Producing Party: a Party or Non-Party that produces Disclosure or
  14 Discovery Material in this Action.

  15            2.13 Professional Vendors: persons or entities that provide litigation support
  16 services (e.g., photocopying, videotaping, translating, preparing exhibits or

  17 demonstrations, and organizing, storing, or retrieving data in any form or medium)

  18 and their employees and subcontractors.

  19            2.14 Protected Material: any Disclosure or Discovery Material that is
  20 designated as “CONFIDENTIAL.”
  21            2.15 Receiving Party: a Party that receives Disclosure or Discovery Material
  22 from a Producing Party, including a Party that has noticed or subpoenaed and is taking
  23 a deposition or comparable testimony.
  24 3.         SCOPE
  25            The protections conferred by this Stipulation and Order cover not only
  26 Protected Material (as defined above), but also (1) any information copied or extracted
  27 from Protected Material; (2) all copies, excerpts, summaries, or compilations of
  28 Protected Material; and (3) any testimony, conversations, or presentations by Parties

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   1 or their Counsel that might reveal Protected Material.

   2            Any use of Protected Material at trial shall be governed by the orders of the
   3 trial judge. This Order does not govern the use of Protected Material at trial.

   4 4.         DURATION
   5            Once a case proceeds to trial, all of the information that was designated as
   6 confidential or maintained pursuant to this protective order becomes public and will

   7 be presumptively available to all members of the public, including the press, unless

   8 compelling reasons supported by specific factual findings to proceed otherwise are

   9 made to the trial judge in advance of the trial. See Kamakana v. City and County of

  10 Honolulu, 447 F.3d 1172, 1180-81 (9th Cir. 2006) (distinguishing “good cause”

  11 showing for sealing documents produced in discovery from “compelling reasons”

  12 standard when merits-related documents are part of court record). Accordingly, the

  13 terms of this protective order do not extend beyond the commencement of the trial.

  14 5.         DESIGNATING PROTECTED MATERIAL
  15            5.1       Exercise of Restraint and Care in Designating Material for Protection.
  16 Each Party or Non-Party that designates information or items for protection under this

  17 Order must take care to limit any such designation to specific material that qualifies

  18 under the appropriate standards. The Designating Party must designate for protection

  19 only those parts of material, documents, items, or oral or written communications that
  20 qualify so that other portions of the material, documents, items, or communications
  21 for which protection is not warranted are not swept unjustifiably within the ambit of
  22 this Order.
  23            Mass, indiscriminate, or routinized designations are prohibited. Designations
  24 that are shown to be clearly unjustified or that have been made for an improper
  25 purpose (e.g., to unnecessarily encumber the case development process or to impose
  26 unnecessary expenses and burdens on other parties) may expose the Designating Party
  27 to sanctions.
  28            If it comes to a Designating Party’s attention that information or items that it
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   1 designated for protection do not qualify for protection, that Designating Party must

   2 promptly notify all other Parties that it is withdrawing the inapplicable designation.

   3            5.2       Manner and Timing of Designations. Except as otherwise provided in
   4 this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise

   5 stipulated or ordered, Disclosure or Discovery Material that qualifies for protection

   6 under this Order must be clearly so designated before the material is disclosed or

   7 produced.

   8            Designation in conformity with this Order requires:
   9            (a)       for information in documentary form (e.g., paper or electronic
  10 documents, but excluding transcripts of depositions or other pretrial or trial

  11 proceedings), that the Producing Party affix at a minimum, the legend

  12 “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that

  13 contains protected material. If only a portion or portions of the material on a page

  14 qualifies for protection, the Producing Party also must clearly identify the protected

  15 portion(s) (e.g., by making appropriate markings in the margins).

  16            A Party or Non-Party that makes original documents available for inspection
  17 need not designate them for protection until after the inspecting Party has indicated

  18 which documents it would like copied and produced. During the inspection and before

  19 the designation, all of the material made available for inspection shall be deemed
  20 “CONFIDENTIAL.” After the inspecting Party has identified the documents it wants
  21 copied and produced, the Producing Party must determine which documents, or
  22 portions thereof, qualify for protection under this Order. Then, before producing the
  23 specified documents, the Producing Party must affix the “CONFIDENTIAL legend”
  24 to each page that contains Protected Material. If only a portion or portions of the
  25 material on a page qualifies for protection, the Producing Party also must clearly
  26 identify the protected portion(s) (e.g., by making appropriate markings in the
  27 margins).
  28            (b)       for testimony given in depositions that the Designating Party identify the
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   1 Disclosure or Discovery Material on the record, before the close of the deposition all

   2 protected testimony.

   3            (c)       for information produced in some form other than documentary and for
   4 any other tangible items, that the Producing Party affix in a prominent place on the

   5 exterior of the container or containers in which the information is stored the legend

   6 “CONFIDENTIAL.” If only a portion or portions of the information warrants

   7 protection, the Producing Party, to the extent practicable, shall identify the protected

   8 portion(s).

   9            5.3       Inadvertent Failures to Designate. If timely, an inadvertent failure to
  10 designate qualified information or items does not, standing alone, waive the

  11 Designating Party’s right to secure protection under this Order for such material.

  12 Upon timely correction of a designation, the Receiving Party must make reasonable

  13 efforts to assure that the material is treated in accordance with the provisions of this

  14 Order.

  15 6.         CHALLENGING CONFIDENTIALITY DESIGNATIONS
  16            6.1       Timing of Challenges. Any Party or Non-Party may challenge a
  17 designation of confidentiality at any time that is consistent with the Court’s

  18 Scheduling Order.

  19            6.2       Meet and Confer. The Challenging Party shall initiate the dispute
  20 resolution process under Local Rule 37.1 et seq.
  21            6.3       The burden of persuasion in any such challenge proceeding shall be on
  22 the Designating Party. Frivolous challenges, and those made for an improper purpose
  23 (e.g., to harass or impose unnecessary expenses and burdens on other parties) may
  24 expose the Challenging Party to sanctions. Unless the Designating Party has waived
  25 or withdrawn the confidentiality designation, all parties shall continue to afford the
  26 material in question the level of protection to which it is entitled under the Producing
  27 Party’s designation until the Court rules on the challenge.
  28 7.         ACCESS TO AND USE OF PROTECTED MATERIAL
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   1            7.1       Basic Principles. A Receiving Party may use Protected Material that is
   2 disclosed or produced by another Party or by a Non-Party in connection with this

   3 Action only for prosecuting, defending, or attempting to settle this Action. Such

   4 Protected Material may be disclosed only to the categories of persons and under the

   5 conditions described in this Order. When the Action has been terminated, a Receiving

   6 Party must comply with the provisions of section 13 below (FINAL DISPOSITION).

   7            Protected Material must be stored and maintained by a Receiving Party at a
   8 location and in a secure manner that ensures that access is limited to the persons

   9 authorized under this Order.

  10            7.2       Disclosure of “CONFIDENTIAL” Information or Items. Unless
  11 otherwise ordered by the court or permitted in writing by the Designating Party, a

  12 Receiving            Party    may     disclose      any   information    or    item     designated
  13 “CONFIDENTIAL” only to:

  14            (a)       the Receiving Party’s Outside Counsel of Record in this Action, as well
  15 as employees of said Outside Counsel of Record to whom it is reasonably necessary

  16 to disclose the information for this Action;

  17            (b)       the officers, directors, and employees (including House Counsel) of the
  18 Receiving Party to whom disclosure is reasonably necessary for this Action;

  19            (c)       Experts (as defined in this Order) of the Receiving Party to whom
  20 disclosure is reasonably necessary for this Action and who have signed the
  21 “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  22            (d)       the court and its personnel;
  23            (e)       court reporters and their staff;
  24            (f)       professional jury or trial consultants, mock jurors, and Professional
  25 Vendors to whom disclosure is reasonably necessary for this Action and who have
  26 signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  27            (g)       the author or recipient of a document containing the information or a
  28 custodian or other person who otherwise possessed or knew the information;

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   1            (h)       during their depositions, witnesses, and attorneys for witnesses, in the
   2 Action to whom disclosure is reasonably necessary provided: (1) the deposing party

   3 requests that the witness sign the form attached as Exhibit A hereto; and (2) they will

   4 not be permitted to keep any confidential information unless they sign the

   5 “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise

   6 agreed by the Designating Party or ordered by the court. Pages of transcribed

   7 deposition testimony or exhibits to depositions that reveal Protected Material may be

   8 separately bound by the court reporter and may not be disclosed to anyone except as

   9 permitted under this Stipulated Protective Order; and

  10            (i)       any mediator or settlement officer, and their supporting personnel,
  11 mutually agreed upon by any of the parties engaged in settlement discussions.

  12 8.         PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
  13 OTHER LITIGATION

  14            If a Party is served with a subpoena or a court order issued in other litigation
  15 that compels disclosure of any information or items designated in this Action as

  16 “CONFIDENTIAL,” that Party must:

  17            (a)       promptly notify in writing the Designating Party. Such notification shall
  18 include a copy of the subpoena or court order;

  19            (b)       promptly notify in writing the party who caused the subpoena or order to
  20 issue in the other litigation that some or all of the material covered by the subpoena
  21 or order is subject to this Protective Order. Such notification shall include a copy of
  22 this Stipulated Protective Order; and
  23            (c)       cooperate with respect to all reasonable procedures sought to be pursued
  24 by the Designating Party whose Protected Material may be affected.
  25            If the Designating Party timely seeks a protective order, the Party served with
  26 the subpoena or court order shall not produce any information designated in this action
  27 as “CONFIDENTIAL” before a determination by the court from which the subpoena
  28 or order issued, unless the Party has obtained the Designating Party’s permission. The

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    1 Designating Party shall bear the burden and expense of seeking protection in that court

    2 of its confidential material and nothing in these provisions should be construed as

    3 authorizing or encouraging a Receiving Party in this Action to disobey a lawful

    4 directive from another court.

    5 9.         A         NON-PARTY’S        PROTECTED        MATERIAL         SOUGHT         TO     BE
    6 PRODUCED IN THIS LITIGATION

    7            (a)        The terms of this Order are applicable to information produced by a Non-
    8 Party in this Action and designated as “CONFIDENTIAL.” Such information

    9 produced by Non-Parties in connection with this litigation is protected by the

   10 remedies and relief provided by this Order. Nothing in these provisions should be

   11 construed as prohibiting a Non-Party from seeking additional protections.

   12            (b)        In the event that a Party is required, by a valid discovery request, to
   13 produce a Non-Party’s confidential information in its possession, and the Party is

   14 subject to an agreement with the Non-Party not to produce the Non-Party’s

   15 confidential information, then the Party shall:

   16            (1)        promptly notify in writing the Requesting Party and the Non-Party that
   17 some or all of the information requested is subject to a confidentiality agreement with

   18 a Non-Party;

   19            (2)        promptly provide the Non-Party with a copy of the Stipulated Protective
   20 Order in this Action, the relevant discovery request(s), and a reasonably specific
   21 description of the information requested; and
   22            (3)        make the information requested available for inspection by the Non-
   23 Party, if requested.
   24            (c)        If the Non-Party fails to seek a protective order from this court within 14
   25 days of receiving the notice and accompanying information, the Receiving Party may
   26 produce the Non-Party’s confidential information responsive to the discovery request.
   27 If the Non-Party timely seeks a protective order, the Receiving Party shall not produce
   28 any information in its possession or control that is subject to the confidentiality

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    1 agreement with the Non-Party before a determination by the court. Absent a court

    2 order to the contrary, the Non-Party shall bear the burden and expense of seeking

    3 protection in this court of its Protected Material.

    4 10.        UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
    5            If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
    6 Protected Material to any person or in any circumstance not authorized under this

    7 Stipulated Protective Order, the Receiving Party must immediately (a) notify in

    8 writing the Designating Party of the unauthorized disclosures, (b) use its best efforts

    9 to retrieve all unauthorized copies of the Protected Material, (c) inform the person or

   10 persons to whom unauthorized disclosures were made of all the terms of this Order,

   11 and (d) request such person or persons to execute the “Acknowledgment and

   12 Agreement to Be Bound” that is attached hereto as Exhibit A.

   13 11.        INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
   14 PROTECTED MATERIAL

   15            When a Producing Party gives notice to Receiving Parties that certain
   16 inadvertently produced material is subject to a claim of privilege or other protection,

   17 the obligations of the Receiving Parties are those set forth in Federal Rule of Civil

   18 Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure

   19 may be established in an e-discovery order that provides for production without prior
   20 privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
   21 parties reach an agreement on the effect of disclosure of a communication or
   22 information covered by the attorney-client privilege or work product protection, the
   23 parties may incorporate their agreement in the stipulated protective order submitted
   24 to the court.
   25 12.        MISCELLANEOUS
   26            12.1 Right to Further Relief. Nothing in this Order abridges the right of any
   27 person to seek its modification by the Court in the future.
   28            12.2 Right to Assert Other Objections. By stipulating to the entry of this
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    1 Protective Order no Party waives any right it otherwise would have to object to

    2 disclosing or producing any information or item on any ground not addressed in this

    3 Stipulated Protective Order. Similarly, no Party waives any right to object on any

    4 ground to use in evidence of any of the material covered by this Protective Order.

    5            12.3 Filing Protected Material. A Party that seeks to file under seal any
    6 Protected Material must comply with Civil Local Rule 79-5. Protected Material may

    7 only be filed under seal pursuant to a court order authorizing the sealing of the specific

    8 Protected Material at issue. If a Party's request to file Protected Material under seal is

    9 denied by the court, then the Receiving Party may file the information in the public

   10 record unless otherwise instructed by the court.

   11 13.        FINAL DISPOSITION
   12            After the final disposition of this Action, as defined in paragraph 4, within 60
   13 days of a written request by the Designating Party, each Receiving Party must return

   14 all Protected Material to the Producing Party or destroy such material. As used in this

   15 subdivision, “all Protected Material” includes all copies, abstracts, compilations,

   16 summaries, and any other format reproducing or capturing any of the Protected

   17 Material. Whether the Protected Material is returned or destroyed, the Receiving Party

   18 must submit a written certification to the Producing Party (and, if not the same person

   19 or entity, to the Designating Party) by the 60 day deadline that (1) identifies (by
   20 category, where appropriate) all the Protected Material that was returned or destroyed
   21 and (2) affirms that the Receiving Party has not retained any copies, abstracts,
   22 compilations, summaries or any other format reproducing or capturing any of the
   23 Protected Material. Notwithstanding this provision, Counsel are entitled to retain an
   24 archival copy of all pleadings, motion papers, trial, deposition, and hearing
   25 transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
   26 reports, attorney work product, and consultant and expert work product, even if such
   27 materials contain Protected Material. Any such archival copies that contain or
   28 constitute Protected Material remain subject to this Protective Order as set forth in

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    1 Section 4 (DURATION).

    2            14. Any violation of this Order may be punished by any and all appropriate
    3 measures including, without limitation, contempt proceedings and/or monetary

    4 sanctions.

    5 IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

    6

    7

    8 DATED: November 3, 2021                MANNING & KASS
    9
                                             ELLROD, RAMIREZ, TRESTER LLP

   10

   11
                                             By:         /s/ Lynn L. Carpenter
   12                                              Lynn L. Carpenter, Esq.
   13                                              Garros Chan, Esq.
                                                   Attorneys for Defendant, COUNTY OF
   14                                              SAN BERNARDINO and SHERIFF
   15                                              JOHN MCMAHON

   16

   17 DATED: November 3, 2021                GUIZAR, HENDERSON & CARRAZCO,
   18                                        LLP
   19
   20
                                             By:         /s/ Christian Contreras
   21                                                 Humberto M. Guizar, Esq.
   22                                                 Christian Contreras, Esq.
                                                   Attorneys for Plaintiffs,
   23                                              JUAN BOGARIAN and PEARL OSUNA
   24
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    1                                      Signature Attestation
    2            Pursuant to C.D. Cal. Local Rule 5-4.3.4(a)(2)(i), the undersigned hereby
    3 certify that the content of this document is acceptable to all parties listed above, by

    4 and through their counsel of record, and that each has obtained authorization from

    5 each party’s counsel to affix their electronic signatures to this document.

    6

    7

    8                                       By:        /s/ Lynn L. Carpenter
    9                                             Lynn Carpenter

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    1 FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.

    2

    3 Dated: November 5, 2021

    4                                      Hon. Kenly Kiya Kato
                                           United States Magistrate Judge
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    1                                           EXHIBIT A
    2                  ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
    3            I, ____________________________________ [print or type full name], of
    4 ___________________ [print or type full address], declare under penalty of perjury

    5 that I have read in its entirety and understand the Stipulated Protective Order that

    6 was issued by the United States District Court for the Central District of California

    7 on [date] in the case of_________________ [insert formal name of the case and the

    8 number and initials assigned to it by the court]. I agree to comply with and to be

    9 bound by all the terms of this Stipulated Protective Order and I understand and

   10 acknowledge that failure to so comply could expose me to sanctions and punishment

   11 in the nature of contempt. I solemnly promise that I will not disclose in any manner

   12 any information or item that is subject to this Stipulated Protective Order to any

   13 person or entity except in strict compliance with the provisions of this Order.

   14            I further agree to submit to the jurisdiction of the United States District Court
   15 for the Central District of California for the purpose of enforcing the terms of this

   16 Stipulated Protective Order, even if such enforcement proceedings occur after

   17 termination of this action. I hereby appoint ____________________________ [print

   18 or type full name] of _______________________________________ [print or type

   19 full address and telephone number] as my California agent for service of process in
   20 connection with this action or any proceedings related to enforcement of this
   21 Stipulated Protective Order.
   22 Date:_______________________________________
   23 City and State where sworn and signed: _____________________________
   24 Printed name: ______________________________
   25 Signature: _________________________________
   26
   27
   28

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